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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                        )
 CAMPAIGN FOR ACCOUNTABILITY,           )
                                        )
                             Plaintiff, )
                                        )
 v.                                     )                   Case No. 18-cv-783 (RDM)
                                        )
 U.S. ENVIRONMENTAL PROTECTION          )
 AGENCY,                                )
                                        )
                           Defendant. )
                                        )

                                    JOINT STATUS REPORT

        Pursuant to the Court’s February 25, 2019 Minute Order, the parties hereby submit the

following Joint Status Report.

        1.       As stated in the August 10, 2018, Joint Status Report (ECF No. 13), Defendant

U.S. Environmental Protection Agency (EPA) and Plaintiff Campaign for Accountability agreed

that EPA would review 500 potentially responsive documents per month, with rolling

productions on the 15th of each month.

        2.       Defendant’s review and production of documents remains ongoing.

        3.       On March 26, 2019, Defendant released 96 pages of responsive documents to

Plaintiff.

        4.       Plaintiff is reviewing the materials and information produced in this case to

evaluate the nature of the redactions contained therein.

        5.       The parties will confer regarding any questions raised or issues identified by

Plaintiff.




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       6.       The parties propose to file a further joint status report by not later than June 3,

2019, regarding whether the parties are still conferring on open issues or whether the parties

believe that briefing is necessary in this case and, if so, proposing a briefing schedule.

       7.       Undersigned counsel has communicated this information to Defendant’s counsel,

and she has authorized this report to be filed.



Dated: April 1, 2019                                   Respectfully submitted,

                                                       /s/ Hart W. Wood
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